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                               Document      Page 1 of 12


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

      IN THE MATTER OF:                          {       CHAPTER 7
                                                 {
      SAMMY LEE CRUMBLEY, JR.                    {       CASE NO: 13-69258 - MGD
      SSN: xxx-xx-6721                           {
      VITA NORWOOD CRUMBLEY                      {
      SSN: xxx-xx-4082                           {
            Debtor(s),                           {


                                          AMENDMENT



             COMES NOW, Sammy Lee Crumbley, Jr. and Vita Norwood Crumbley,

      Debtor(s), by and through their undersigned attorney and amends their Chapter 7

      Bankruptcy as follows:

             1.     Amend Schedule “F” Creditors Holding Un-secured Non-priority Claims

                    (See Attached).

             2.     Amend Summary of Schedules & Statistical Summary of Certain Liabilities

                    and Related Data (28 U.S.C. § 159) (See Attached).



             WHEREFORE, Debtor(s) pray that this Amendment be allowed.



                                                 /s/ Angela Little Hamilton
                                                 Angela Little Hamilton, GBN 454087
                                                 Attorney for Debtor(s)
                                                 angelalham@yahoo.com
                                                 543 E. Lanier Avenue
                                                 Fayetteville, GA 30214
                                                 Phone (770) 716-0140
               Case 13-69258-bem                          Doc 16         Filed 10/07/13 Entered 10/07/13 16:17:56                                   Desc Main
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 B6F (Official Form 6F) (12/07)


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   In re         Sammy Lee Crumbley, Jr.,                                                                                Case No.         13-69258
                 Vita Norwood Crumbley
                                                                                                                 ,
                                                                                               Debtors

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                                        IS SUBJECT TO SETOFF, SO STATE.
                  (See instructions above.)                             O
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                                                                                                                                                I
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                                                                                                                                                    E
                                                                                                                                                    D
                                                                                                                                            N   A
Account No. xxxxxxxx4920                                                        medical services                                            T   T
                                                                                                                                                E
                                                                                                                                                D

American Anesthesiology of GA
c/o Frost - Arnett Company                                                  W
P.O. Box 198988
Nashville, TN 37219-8988
                                                                                                                                                                           80.00
Account No. 6492                                                                services

AT&T
c/o Enhanced Recovery Corporation                                           W
8014 Bayberry Road
Jacksonville, FL 32256-7412
                                                                                                                                                                         198.00
Account No. xxxx797N                                                            medical services

Atlanta Perinatal Consultants
5780 Peachtree Dunwoody Rd, Ste 380                                         W
Atlanta, GA 30342-1554

                                                                                                                                                                         214.00
Account No. xxxx-xxxx-xxxx-1508                                                 credit card purchases

Chase Bank USA, NA
P.O. Box 15298                                                              J
Wilmington, DE 19850-5298

                                                                                                                                                                       1,811.00

                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                     2,303.00
                                                                                                                              (Total of this page)




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   In re         Sammy Lee Crumbley, Jr.,                                                                            Case No.     13-69258
                 Vita Norwood Crumbley
                                                                                                                 ,
                                                                                               Debtors
                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                    E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxx1340                                                           credit card purchases                                   E
                                                                                                                                        D

Comenity Bank / Limited Dept. Stores
P.O. Box 182789                                                             W
Columbus, OH 43218

                                                                                                                                                            1,695.00
Account No. xxxxx1466                                                           Medical

Digestive Healthcare of GA
95 Collier Rd. NW                                                           J
Suite 4075
Atlanta, GA 30309
                                                                                                                                                              994.94
Account No. xxxxxxxx5611                                                        credit card purchases

DSNB / Bloomingdale's
Attn: Bankruptcy Processing                                                 W
P.O. Box 8053
Mason, OH 45040
                                                                                                                                                            1,043.00
Account No. xxxxxxx1342                                                         credit card purchases

DSNB / Macy's
Attn: Bankruptcy Processing                                                 W
P.O. Box 8053
Mason, OH 45040
                                                                                                                                                            1,809.00
Account No. xxx4922                                                             medical services

Emerginet SRMC, LLC
c/o North American Credit                                                   H
2810 Walker Road
Suite 100
Chattanooga, TN 37421                                                                                                                                         210.00

Sheet no. _____
           1    of _____
                    3    sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            5,751.94
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Sammy Lee Crumbley, Jr.,                                                                            Case No.     13-69258
                 Vita Norwood Crumbley
                                                                                                                 ,
                                                                                               Debtors
                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                    E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx1184                                                            medical services                                        E
                                                                                                                                        D

Emerginet SRMC, LLC
c/o North American Credit                                                   W
2810 Walker Road
Suite 100
Chattanooga, TN 37421                                                                                                                                         212.00
Account No. xxxx5953                                                            credit card purchases

GE Capital Retail Bank / Gap
Attn: Bankruptcy Dept.                                                      W
P.O. Box 103104
Roswell, GA 30076
                                                                                                                                                              351.00
Account No. xxxxxxxxxxxx6997                                                    credit card purchases

Home Depot / CBNA
P.O. Box 6497                                                               W
Sioux Falls, SD 57117-6497

                                                                                                                                                              464.00
Account No. xxxxxxxxxxxx4130                                                    credit card purchases

Home Depot / CBNA
P.O. Box 6497                                                               W
Sioux Falls, SD 57117-6497

                                                                                                                                                            1,452.00
Account No. xxxxxx0684                                                          medical services

Northside Hospital
1100 Johnson Ferry Rd., NE                                                  W
Suite 780
Atlanta, GA 30342
                                                                                                                                                                78.00

Sheet no. _____
           2    of _____
                    3    sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            2,557.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Sammy Lee Crumbley, Jr.,                                                                                  Case No.      13-69258
                 Vita Norwood Crumbley
                                                                                                                  ,
                                                                                               Debtors
                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)


                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxx9096                                                             medical services                                               E
                                                                                                                                               D

Piedmont Fayette Hospital
c/o Brent D. Stamps, Atty at Law                                            W
P.O. Box 2387
Norcross, GA 30093
                                                                                                                                                                     807.00
Account No.                                                                     Notice Only - already listed

Piedmont Fayette Hospital
Paces West Two - Suite 1000                                                 W
2727 Paces Ferry Road
Atlanta, GA 30339
                                                                                                                                                                         0.00
Account No. xxxxxxxx0705                                                        credit card purchases

Portfolio Recovery Associates, LLC
aao HSBC Card Services III, Inc.                                            H
120 Corporate Boulevard, Suite 100
Norfolk, VA 23502
                                                                                                                                                                     559.00
Account No. xxx.xx7739                                                          medical services

Progressive Anesthesia, LLC
P.O. Box 4860                                                               W
Murrells Inlet, SC 29576

                                                                                                                                                                     294.00
Account No.




Sheet no. _____
           3    of _____
                    3    sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                   1,660.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                12,271.94


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B6 Summary (Official Form 6 - Summary) (12/07)




                                                               United States Bankruptcy Court
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                                                       Northern District of Georgia - Newnan Division
  In re          Sammy Lee Crumbley, Jr.,                                                                    Case No.      13-69258
                 Vita Norwood Crumbley
                                                                                                       ,
                                                                                      Debtors                Chapter                      7




                                                      SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF           ASSETS               LIABILITIES                OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                  194,000.00


B - Personal Property                                          Yes           3                   66,450.00


C - Property Claimed as Exempt                                 Yes           1


D - Creditors Holding Secured Claims                           Yes           2                                         264,686.00


E - Creditors Holding Unsecured                                Yes           1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           4                                          12,271.94
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           1                                                                     5,468.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     5,474.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   17


                                                                       Total Assets             260,450.00


                                                                                        Total Liabilities              276,957.94




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Form 6 - Statistical Summary (12/07)




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                                                       Northern District of Georgia - Newnan Division
  In re           Sammy Lee Crumbley, Jr.,                                                                            Case No.   13-69258
                  Vita Norwood Crumbley
                                                                                                           ,
                                                                                        Debtors                       Chapter                 7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                   0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                             TOTAL                                 0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                        5,468.00

              Average Expenses (from Schedule J, Line 18)                                                      5,474.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         5,664.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                      72,548.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                   0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                12,271.94

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            84,819.94




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                                          VERIFICATION

             I/We, Sammy Lee Crumbley, Jr. and Vita Norwood Crumbley, as petitioners in the

      foregoing petition, declare under penalty of perjury, pursuant to Bankruptcy Rule 1008,

      that the foregoing amendment is true and correct.

                                                          /s/ Sammy Lee Crumbley, Jr.

                                                          /s/ Vita Norwood Crumbley

      Date: October 7, 2013
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

      IN THE MATTER OF:                            {       CHAPTER 7
                                                   {
      SAMMY LEE CRUMBLEY, JR.                      {       CASE NO: 13-69258 - MGD
      SSN: xxx-xx-6721                             {
      VITA NORWOOD CRUMBLEY                        {
      SSN: xxx-xx-4082                             {
            Debtor(s),                             {


                                  CERTIFICATE OF SERVICE

                    This is to Certify that I have this date served a copy of the within and

         foregoing Amendment on the following:

                                           Janet G. Watts
                                       600 North Glynn Street
                                               Suite C
                                       Fayetteville, GA 30214

                                      Sammy Lee Crumbley, Jr.
                                      Vita Norwood Crumbley
                                         794 Cormac Drive
                                        Riverdale, GA 30296

                    by placing a copy of same in the United States Mail in properly addressed

      envelope with adequate postage affixed thereon to insure delivery.

               This 7th day of October, 2013.



                                                   /s/ Angela Little Hamilton
                                                   Angela Little Hamilton, GBN 454087
                                                   Attorney for Debtor(s)
                                                   angelalham@yahoo.com
                                                   543 E. Lanier Avenue
                                                   Fayetteville, GA 30214
                                                   Phone (770) 716-0140
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          13-69258-mgd Sammy Lee Crumbley, Jr. and Vita Norwood Crumbley
           Case type: bk Chapter: 7 Asset: No Vol: v Judge: Mary Grace Diehl
                                Date filed: 09/02/2013

                                        Creditors

                      American Anesthesiology of GA
                      c/o Frost - Arnett Company
                      P.O. Box 198988
                      Nashville, TN 37219-8988
                      AT&T
                      c/o Enhanced Recovery Corporation
                      8014 Bayberry Road
                      Jacksonville, FL 32256-7412
                      Atlanta Perinatal Consultants
                      5780 Peachtree Dunwoody Rd, Ste 380
                      Atlanta, GA 30342-1554
                      Bank of America, NA
                      Customer Service
                      P.O. Box 5170
                      Simi Valley, CA 93062-5170
                      Beneficial Mortgage Co. of Georgia
                      205 Banks Station
                      Fayetteville, GA 30214
                      Chase Bank USA, NA
                      P.O. Box 15298
                      Wilmington, DE 19850-5298
                      Clayton County Tax Commissioner
                      Courthouse Annex 3, 2nd Floor
                      121 S. McDonough Street
                      Jonesboro, GA 30236
                      Comenity Bank / Limited Dept. Stores
                      P.O. Box 182789
                      Columbus, OH 43218
                      DSNB / Bloomingdale's
                      Attn: Bankruptcy Processing
                      P.O. Box 8053
                      Mason, OH 45040
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                      DSNB / Macy's
                      Attn: Bankruptcy Processing
                      P.O. Box 8053
                      Mason, OH 45040
                      Emerginet SRMC, LLC
                      c/o North American Credit
                      2810 Walker Road
                      Suite 100
                      Chattanooga, TN 37421
                      Fidelity Bank
                      P.O. Box 105690
                      Atlanta, GA 30348
                      GE Capital Retail Bank / Gap
                      Attn: Bankruptcy Dept.
                      P.O. Box 103104
                      Roswell, GA 30076
                      Hawthorne I Homeowners Association
                      c/o Community Association Management
                      101 Devant St., Suites 904 & 905
                      P.O. Box 143089
                      Fayetteville, GA 30214
                      Hawthorne I Homeowners Association Inc
                      c/o Mason Lee
                      101 Devant Street, Suite 905
                      P.O. Box 143089
                      Fayetteville, GA 30214
                      Home Depot / CBNA
                      P.O. Box 6497
                      Sioux Falls, SD 57117-6497
                      Northside Hospital
                      1100 Johnson Ferry Rd., NE
                      Suite 780
                      Atlanta, GA 30342
                      Piedmont Fayette Hospital
                      c/o Brent D. Stamps, Atty at Law
                      P.O. Box 2387
                      Norcross, GA 30093
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                      Piedmont Fayette Hospital
                      Paces West Two - Suite 1000
                      2727 Paces Ferry Road
                      Atlanta, GA 30339
                      PNC Mortgage
                      3232 Newmark Drive
                      Miamisburg, OH 45342
                      PNC Mortgage
                      c/o McCurdy & Candler, LLC
                      Six Piedmont Center, Suite 700
                      3525 Piedmont Road, NE
                      Atlanta, GA 30305
                      Portfolio Recovery Associates, LLC
                      aao HSBC Card Services III, Inc.
                      120 Corporate Boulevard, Suite 100
                      Norfolk, VA 23502
                      POS Solutions
                      P.O. Box 1844
                      Douglasville, GA 30133
                      Progressive Anesthesia, LLC
                      P.O. Box 4860
                      Murrells Inlet, SC 29576

                               SUPPLEMENTAL MATRIX

                                 Digestive Healthcare of GA
                                     95 Collier Rd. NW
                                         Suite 4075
                                     Atlanta GA 30309
